20-11102-mg       Doc 33     Filed 09/08/20 Entered 09/08/20 21:07:03             Main Document
                                          Pg 1 of 10



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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                        Case No. 20-11102-mg

 MANOLO BLAHNIK USA, LTD.,                                     Chapter 7

                                Alleged Debtor.


           ALLEGED DEBTOR’S ANSWER TO THE INVOLUNTARY PETITION

          Alleged Debtor Manolo Blahnik USA, Ltd. (“MBUSA”), by and through its counsel

Polsinelli PC, for its Answer to the Involuntary Petition filed against it by creditor Calzaturificio

Re Marcello S.R.L. (“Creditor”) (the “Involuntary Petition”), states as follows:

          1.    MBUSA denies paragraph 1 of the Involuntary Petition.

          2.    MBUSA admits paragraph 2 of the Involuntary Petition.

          3.    Paragraph 3 of the Involuntary Petition makes no allegations, and, therefore, no

response is required. To the extent a response is required, it is denied.

          4.    Paragraph 4 of the Involuntary Petition makes no allegations, and, therefore, no

response is required. To the extent a response is required, it is denied.

          5.    MBUSA admits paragraph 5 of the Involuntary Petition.

          6.    Paragraph 6 of the Involuntary Petition makes no allegations, and, therefore, no

response is required. To the extent a response is required, it is denied.
20-11102-mg       Doc 33     Filed 09/08/20 Entered 09/08/20 21:07:03         Main Document
                                          Pg 2 of 10



       7.      MBUSA admits paragraph 7 of the Involuntary Petition.

       8.      MBUSA admits paragraph 8 of the Involuntary Petition.

       9.      MBUSA admits paragraph 9 of the Involuntary Petition.

       10.     MBUSA admits paragraph 10 of the Involuntary Petition.

       11.     MBUSA denies paragraph 11 of the Involuntary Petition.

       12.     MBUSA denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph 12 of the Involuntary Petition.

       13.     MBUSA denies paragraph 13 of the Involuntary Petition.

                                   PRELIMINARY STATEMENT

       1.      Marcello alleges in the Involuntary Petition that MBUSA owes Creditor

$601,447.60, converted from €546,386.00, for goods sold (the “Alleged Debt”).

       2.      MBUSA contests the amount of the Alleged Debt.

       3.      MBUSA contests the liability of the Alleged Debt.

       4.      MBUSA contests the allegation that it is not paying its debts as they come due.

MBUSA has refused to pay Creditor (defined below) because Creditor and its fellow, Manolo

Blahnik family of companies, directly interfered with MBUSA’s rights to payment. MBUSA has

been paying all other creditors.

       5.      Creditor’s basis for claiming the Alleged Debt is a set of invoices from November

2019 sent from Creditor to MBUSA.1 Included in these invoices are shipments which contained




       1
        MBUSA is aware that Creditor claims a set of invoices from December 2019 are also due
and owing. These amounts, however, were not included in the Involuntary Petition and therefore
are not addressed here. MBUSA, however, also disputes any alleged debt arising from the
December 2019 invoices based on the same facts: merchandise included in the shipments on the
December 2019 invoices was also included on the Unpaid PO (defined later).

                                                  2
20-11102-mg       Doc 33     Filed 09/08/20 Entered 09/08/20 21:07:03            Main Document
                                          Pg 3 of 10



merchandise that was returned against MBUSA without MBUSA’s knowledge or permission, by

a corporate entity in the broader Manolo Blahnik corporate family which also includes Creditor.

         6.    MBUSA has valid claims for tortious interference with contractual relations against

Creditor and its corporate family. Specifically, entities within the Manolo Blahnik corporate family

directly caused a MBUSA customer to refuse to pay an approximately $790,000.00 purchase order

owed to MBUSA. Certain merchandise contained in that purchase order was also contained in the

shipments included in the set of invoices Creditor claims are due and owing to it by MBUSA.

         7.    MBUSA therefore contests this Involuntary Petition.

                                   STATEMENT OF FACTS

The Neiman Marcus Transactions

         8.    MBUSA formerly held the exclusive license to sell both women’s and men’s

Manolo Blahnik shoes in the United States. In 2019, MBUSA declined to renew its licensing

agreement which expired on December 31, 2019 on the terms offered by the licensor.

         9.    A new and separate entity, Manolo Blahnik Americas, LLC (“Affiliate”), was

created by Creditor’s parent company, Manolo Blahnik International, Ltd. (“Parent”), to take over

North American operations.

         10.   In June 2019, Neiman Marcus placed an order with MBUSA for a collection of

shoes.

         11.   In July 2019, MBUSA placed an order with Creditor for a variety of shoes on behalf

of a number of customers including, but not limited to, Neiman Marcus. Notably, not all shoes

ordered by Neiman Marcus were ordered with or made by Creditor.

         12.   The terms of the order was “net 90 days,” meaning that payment was due the end

of the month when the shoes were shipped.



                                                 3
20-11102-mg      Doc 33    Filed 09/08/20 Entered 09/08/20 21:07:03         Main Document
                                        Pg 4 of 10



        13.   As a result, for any shoes shipped in November 2019, payment was due on March 1,

2020.

        14.   Creditor shipped shoes to MBUSA between October 15, 2019 and December 19,

2019. These shipments included shoes for Neiman Marcus in addition to a variety of other

customers.

        15.   On or about November 3, 2019, MBUSA issued a purchase order to Neiman

Marcus in the amount of $721,893.00 for shoes shipped to Neiman Marcus in November and

December 2019 (the “First Purchase Order”). After approved deductions, on January 9, 2020,

Neiman Marcus paid MBUSA $601,741.90 on the First Purchase Order (the “January 2020

Payment”).

        16.   On or about December 19, 2019, MBUSA issued a purchase order to Neiman

Marcus in the amount of $790,740.75 for shoes shipped to Neiman Marcus in October through

December 2019 (the “Unpaid PO”).

        17.   Thereafter, on or about January 31, 2020, MBUSA paid Creditor $663,994.89.

        18.   On February 14, 2020, MBUSA sent an email to Neiman Marcus requesting

payment of the Unpaid PO that was more than thirty (30) days past due. In response, Neiman

Marcus informed MBUSA that payment of the entire Unpaid PO was being held due to a dispute

over a credit Neiman Marcus sought and was expecting for approximately $38,000.00 worth of

men’s shoes (the “Credit Dispute”). Neiman Marcus alleged these shoes were returned to

MBUSA and it was told it would receive a credit for same.

Tortious Interference by the Manolo Blahnik Corporate Family

        19.   As it turned out, Andrew Wright, a former employee of Parent and the current

President of Affiliate, negotiated the return of MBUSA’s merchandise without authority and



                                              4
20-11102-mg      Doc 33     Filed 09/08/20 Entered 09/08/20 21:07:03           Main Document
                                         Pg 5 of 10



without the knowledge or permission of MBUSA. Andrew Wright has never been associated with

MBUSA.

       20.    Wright, on behalf of Affiliate and Parent, negotiated the return of merchandise that

he knew was MBUSA’s and in fact could not have been Affiliate’s merchandise because at the

time the merchandise was sent to Neiman Marcus, Affiliate did not have a license to sell shoes.

       21.    Wright, acting on behalf of the Manolo Blahnik corporate family, negotiated with

Neiman Marcus solely to incur favor with Neiman Marcus as Affiliate would be selling Manolo

Blahnik goods to Neiman Marcus going forward.

       22.    Had Affiliate not interfered with MBUSA’s relationship with Neiman Marcus,

payment of the Unpaid PO would have been made in January 2020.

The Inter-Related Entities in the Manolo Blahnik Corporate Family

       23.    By Transition Deed dated November 25, 2019, MBUSA, Parent, and another entity

in the Manolo Blahnik corporate family, Manolo Blahnik Worldwide Limited (“Worldwide”),

entered into an agreement addressing the rights and responsibilities of each entity as MBUSA

began to wind down operations as the licensing agreement came to an end (the “Transition

Deed”).

       24.    While Affiliate was not a party to the Transition Deed, Parent and Worldwide

entered into the Transition Deed for the benefit of Affiliate so that Affiliate could sell Manolo

Blahnik shoes in North America. Schedule E to the Transition Deed required MBUSA to set up an

automated greeting for MBUSA’s telephone number to direct callers to Affiliate’s President,

Wright. Section 4.1(b)(ii)(B) of the Transition Deed required MBUSA to set up an automatic reply

for its email addresses which send the party to Wright’s phone number and an Affiliate email

address. Schedule C to the Transition Deed, a final daily inventory tally, was executed by MBUSA



                                               5
20-11102-mg       Doc 33     Filed 09/08/20 Entered 09/08/20 21:07:03          Main Document
                                          Pg 6 of 10



and sent to Wright on behalf of Affiliate. Wright was also on a number of emails related to the

Transition Deed where he discussed return of physical shoe samples, outstanding Manolo Blahnik

branded “elements” at MBUSA’s physical retail location, and requested the Daily Tally, all as per

Sections 5.14 and 5.15 and Schedule C of the Transition Deed. Further, in an out of office

automated reply, Wright identified “Americas” as one of his covered regions. His email address

has the identical domain to Parent.

The Invoices from Creditor to MBUSA

       25.     In relation to the collection of shoes ordered in July 2019, Creditor sent MBUSA

two invoices: the November 2019 Creditor Invoice, and the December 2019 Creditor Invoice (the

“Creditor Invoices”).

       26.     The Creditor Invoices, importantly, do not correlate or correspond to the purchase

orders issued by MBUSA to Neiman Marcus. To be clear: the November 2019 Creditor Invoice

does not directly correspond to the First Purchase Order, and the December 2019 Creditor Invoice

does not directly correspond to the Unpaid PO.

       27.     Merchandise on the Unpaid PO was included in both Creditor Invoices. Put another

way, there is crossover between the Unpaid PO and both the November 2019 and December 2019

Creditor Invoices.

Creditor Demands Payment

       28.     While investigation was ongoing between MBUSA and Neiman Marcus, Creditor

demanded payment from MBUSA. MBUSA did not make any payment because Neiman Marcus

was still withholding payment on the Unpaid PO. That withholding was a direct result of Parent

and Affiliate’s interference in MBUSA’s relationship with Neiman Marcus.




                                                 6
20-11102-mg       Doc 33     Filed 09/08/20 Entered 09/08/20 21:07:03            Main Document
                                          Pg 7 of 10



       29.      By March 18, 2020, as a result of the COVID-19 pandemic, Neiman Marcus shut

down all in-person retail sales. On May 8, 2020, Neiman Marcus filed a petition for reorganization

under Chapter 11 of Title 11 of the Bankruptcy Code.

       30.      Meanwhile, Creditor copied Georgina McManus, Global General Counsel for

Parent, in an email to MBUSA dated March 10, 2020, requesting payment from MBUSA.

McManus then responded directly to MBUSA requesting an explanation for the “nature of the

delay in this payment.”

       31.      MBUSA advised that Neiman Marcus was holding back a payment of close to

$800,000.00 due to negotiations between Neiman Marcus and Affiliate, and that MBUSA would

not pay Creditor until those funds were released.

       32.      McManus then demanded MBUSA pay Creditor immediately, arguing both that all

of the entities were separate despite that McManus was acting on behalf of Creditor, in her capacity

as general counsel for Parent, which was not a party to any of the dealings between Creditor and

MBUSA.

       33.      On March 25, 2020, McManus sent another email to MBUSA that she was

“instructed to recover” the outstanding amounts “using all legal channels” and that if “the payment

is not received by 5pm CET Friday, 27 March, [she] will have no option but to commence

proceedings.”

       34.      McManus, though technically Global Counsel for Parent, was acting on behalf of

Creditor, blurring the lines between Parent and its affiliated companies and effectively creating

one single entity, the combination of which interfered with MBUSA’s contractual relationship

with Neiman Marcus.




                                                 7
20-11102-mg          Doc 33    Filed 09/08/20 Entered 09/08/20 21:07:03           Main Document
                                            Pg 8 of 10



MBUSA’s Other Debt and Accounts Receivable

        35.     Since January 2020 and continuing after the initiation of this Involuntary Petition,

MBUSA has paid every single debt it has owed (the “Debts Paid”), except its debt to Creditor,

solely because of Creditor’s tortious interference.

        36.     From January 1, 2020 through May 3, 2020 (one day prior to the filing of the

Involuntary Petition), the Debts Paid by MBUSA totaled, approximately $5,218,600.48 paid to

over twenty different creditors.

        37.     The Debts Paid include a $663,957.40 payment to Creditor on January 31, 2020.

This, notably, was before MBUSA discovered the tortious interference.

        38.     MBUSA is paying its debts as they come due and has paid every creditor except

for Creditor, whose bad faith actions have interfered with MBUSA’s right to payment by Neiman

Marcus.

        39.     The only creditor that has not been paid is Creditor, because that debt is wholly and

completely disputed.

        40.     As such, this matter is solely a two-party dispute and the Court should abstain from

hearing this case.

        41.     In addition, MBUSA is still in the process of collecting accounts receivables as part

of its regular business activities.

MBUSA’s Tortious Interference Claim Against the Manolo Blahnik Corporate Family

        42.     MBUSA had a valid, enforceable contract with Neiman Marcus.

        43.     Affiliate, acting on behalf of the entire Manolo Blahnik corporate family, directly,

wrongfully, and tortiously interfered with that contract. Neiman Marcus withheld payment to

MBUSA because of the tortious interference by Affiliate.



                                                  8
20-11102-mg       Doc 33     Filed 09/08/20 Entered 09/08/20 21:07:03             Main Document
                                          Pg 9 of 10



       44.     Affiliate knew of the contract and intentionally procured Neiman Marcus’ breach

thereof without justification, causing damage to MBUSA.

       45.     Based on the tortious interference by the entire Manolo Blahnik corporate family

with the contractual relationship between MBUSA and Neiman Marcus, which directly caused

Neiman Marcus to withhold nearly $800,000.00 in payment to MBUSA, MBUSA hereby contests

the amount and the liability of the Alleged Debt.

       46.     MBUSA filed a Motion to Dismiss the Involuntary Petition. In opposition, Creditor

attached two invoices as Exhibits A and B to the Declaration of Cardile Antonia. Exhibit A

contained invoices for November 2019. Because the terms were “net 90 days,” payment was not

due until March 1, 2020, after the tortious interference with MBUSA’s right to payment.

       47.     Exhibit B contained invoices for December 2019, totaling €403,181.10. However,

all the shoes MBUSA received from Creditor in December 2019, totaled €103,183.90, or

$122,788.84, and not €403,181.10.

       48.     Because the terms were “net 90 days,” payment of the lesser amount was not due

until April 1, 2020, or after the interference with MBUSA’s right to payment.

       49.     Consequently, MBUSA disputes all debts allegedly owed to Creditor, including

Exhibits A and B to the Declaration of Cardile Antonia.

                                          DEFENSES

       50.     Creditor has failed to state a claim upon which relief can be granted.

       51.     Creditor’s claims are barred by the doctrine of unclean hands.

       52.     Creditor’s claims are barred by Creditor’s own tortious conduct.

       53.     Creditor failed to mitigate its alleged damages.




                                                9
20-11102-mg         Doc 33     Filed 09/08/20 Entered 09/08/20 21:07:03                 Main Document
                                           Pg 10 of 10



           54.   MBUSA is not “generally not paying [its] debts as such debts become due” and

therefore the Involuntary Petition is not proper.

           55.   Creditor does not have standing to bring the Involuntary Petition.

           56.   Any damages were caused by Creditor’s own culpable conduct.

           57.   Creditor filed the Involuntary Petition in bad faith and is liable to damages to

MBUSA for bad faith.

           58.   The Court should abstain from this matter as it is a two-party dispute, as more fully

set forth above, because MBUSA has paid, and continues to pay all of its debts as they come due.

           59.   Creditor’s claims are barred by setoff and recoupment.

           WHEREFORE, MBUSA contests the entirety of the Involuntary Petition and requests

that the Court dismiss the Involuntary Petition against MBUSA, award MBUSA damages for

Creditor’s bad faith filing, and award any such other and further relief as the Court deems just and

proper.

Dated: New York, New York
       September 8, 2020
                                                         POLSINELLI PC

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